                 IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION
                             3:06CV24-02-MU
                           (3:00CR222-01-MU)


TIMOTHY JEROME NIXON,         )
     Petitioner,              )
                              )
       v.                     )                    ORDER
                              )
UNITED STATES OF AMERICA,     )
     Respondent.              )
______________________________)

     THIS MATTER comes before the Court on the petitioner’s

second “Motion Under 28 USC Section 2255 To Vacate, Set Aside, Or

Correct Sentence,” filed January 17, 2006.        However, for the

reasons stated herein, the instant Motion shall be dismissed due

to the Court’s lack of authority to entertain the claim set forth

therein.

     According to the record of the petitioner’s underlying

criminal case, on November 7, 2000, he was named in a ten-count

Bill of Indictment, but on the following day a Superceding 10-

count Bill of Indictment was filed, charging the petitioner with

numerous drug and gun offenses.

     On February 1, 2001, the parties filed a written Plea

Agreement.   Under that Agreement, the petitioner agreed to plead

guilty to the charges of conspiracy to possess with intent to

distribute cocaine base and cocaine, using and carrying a firearm

during and in relation to a drug trafficking crime, and posses-

sion of a firearm by a convicted felon (Counts 1, 8 and 9).                In



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accordance with the provisions of that Agreement, on February 15,

2001, the petitioner appeared before the Court and tendered his

guilty pleas.   After engaging the petitioner in its standard Plea

& Rule 11 colloquy, the Court was satisfied that the petitioner’s

pleas were knowingly and voluntarily tendered, and so the Court

accepted the petitioner’s pleas.

     Next, on September 23, 2002, the petitioner appeared before

the Court for his Factual Basis & Sentencing Hearing.           On that

occasion, the Court granted the government’s “Motion For A Down-

ward Departure” which was based upon the petitioner substantial

assistance.   The Court then sentenced the petitioner to 180

months imprisonment on Count one, to 120 months imprisonment on

Count 9, and to a consecutive term of 60 months imprisonment on

Count 8.

     The petitioner timely gave his notice of appeal, and his

appeal was docketed with the Fourth Circuit Court of appeals.

However, on December 2, 2002, the petitioner withdrew such

notice.    Accordingly, on February 19, 2003, the Court of Appeals

dismissed the petitioner’s appeal.

     Next, on September 17, 2003, the petitioner filed his first

Motion to Vacate under 28 U.S.C. §2255 (see Nixon v. United

States, 3:03CV451-1-MU).     In that Motion, the petitioner alleged

that he had been subjected to ineffective assistance of counsel;

that his conspiracy conviction was unlawful; and that his


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sentence was in excess of the maximum term which could have been

imposed under the U.S. Sentencing Guidelines.         However, on August

18, 2004, the Court denied the petitioner’s Motion for its lack

of merit.

     The petitioner did not appeal that decision.            Rather, after

waiting more than 16 months, the petitioner now has returned to

this Court with his second Motion to Vacate.         This time around,

the petitioner appears to be challenging his sentences under

Apprendi v. New Jersey, 530 U.S. 466 (2000) and its progeny.

That is, in this new Motion, the petitioner states that “the

Court violated [his] Sixth Amendment right by the imposition of

an enhanced sentence by using a mandatory guideline system, which

was based on the judge’s determination and not the jury or

admitted by the petitioner.”     Notwithstanding his apparent belief

to the contrary, however, the instant Motion must be summarily

dismissed.

     Indeed, as was indicated above, this is the petitioner’s

second Motion to Vacate, challenging his 2002 sentences.            There-

fore, even assuming that such Motion was timely filed–-a fact

which is far from established on this record, the petitioner

cannot bring this second Motion to Vacate until he has obtained

authorization to do so from the Fourth Circuit Court of Appeals.

See 28 U.S.C. §2244(3)(A) (noting that “[b]efore a second or

successive application permitted by this section is filed in the


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district court, the applicant shall move the appropriate court of

appeals for an order authorizing the district court to consider

the application.”).

     A review of the records in this Court and in the Fourth

Circuit Court of Appeals reflects that no such authorization was

granted to, or even sought by, the petitioner.         In fact, the

petitioner’s Motion to Vacate does not even hint that he sought

the required authorization before attempting to proceed with this

Motion.   Consequently, this Court does not have the authority to

entertain the petitioner’s Motion.

     In sum, the Antiterrorism and Effective Death Penalty Act of

1996 requires, among other things, that petitioners who seek

review of second or successive motions to vacate first obtain

pre-filing authorization for such motions from the appropriate

court of appeals.   In the case at bar, the petitioner has failed

to obtain such authorization from the Fourth Circuit in order to

allow this Court to entertain this second Motion to Vacate.

Therefore, the instant Motion to Vacate must be summarily

dismissed.

     NOW, THEREFORE, IT IS HEREBY ORDERED that the petitioner’s

Motion to Vacate is DISMISSED.

     SO ORDERED.




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                  Signed: January 20, 2006




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